Case 0:21-mj-06264-AOV Document 1 Entered on FLSD Docket 04/24/2021 Page 1 of 7




                                                   21-MJ-6264-VALLE




                            FACETIME
    April 24, 2021
Case 0:21-mj-06264-AOV Document 1 Entered on FLSD Docket 04/24/2021 Page 2 of 7




                    AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

        I, Crystal Connors, having been first duly sworn, do hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND

        1.      I am a Special Agent of the Drug Enforcement Administration (“DEA”) assigned

 to the Miami Field Division. As such, I am an investigative or law enforcement officer of the

 United States within the meaning of Title 18, United States Code, Section 2510(7), that is, an

 officer of the United States who is empowered by law to conduct investigations of and to make

 arrests for offenses enumerated in Title 18, United States Code, Section 2516(1). I have been a

 Special Agent since November 2012. In January 2013, I was assigned to the DEA Miami Field

 Division. I have received specialized training in the means and methods used by narcotics

 traffickers to import and distribute narcotics, drug smuggling methods, and the concealment and

 laundering of proceeds from illicit drug trafficking activities. I have personally conducted and

 participated in investigations concerning the possession, manufacture, distribution, and

 importation of controlled substances, as well as methods used to finance drug transactions and

 launder drug proceeds. During the course of these investigations, I have participated in search

 warrant executions and have debriefed or participated in debriefings of defendants, informants,

 and witnesses who had personal knowledge regarding major narcotics trafficking organizations.

 The aforementioned investigations resulted in the arrest and prosecution of numerous individuals

 for narcotics violations and other violations under Titles 18 and 21 of the United States Code.

 Based upon my training and experience, I am familiar with the manner in which narcotics-

 trafficking organizations operate, including the manner in which various types of illegal drugs are

 cultivated, manufactured, smuggled, distributed, or diverted, as well as methods used to finance

 drug transactions and launder drug proceeds.
Case 0:21-mj-06264-AOV Document 1 Entered on FLSD Docket 04/24/2021 Page 3 of 7




          2.    I make this Affidavit in support of a criminal complaint charging Horvin

 McKenzie Jr. and David Jonathan Ventura with a violation of Title 18, United States

 Code, Sections 1114 and 2 (attempted murder of a person assisting agents of the Drug

 Enforcement Administration during the performance of their official duties); Title 21, United

 States Code, Section 846 (conspiracy to distribute a controlled substance); Title 21, United

 States Code, Section 841(a)(1) and Title 18, United States Code, Section 2 (possession with

 intent to distribute a controlled substance); and Title 18, United States Code, Sections 924(c)(1)

 (A) and 2 (possession of a firearm during a crime of violence).

          3.    This Affidavit is based upon my personal knowledge of the events set forth herein,

 as well as information provided to me by other law enforcement personnel and other sources of

 information. Because this Affidavit is being submitted for the limited purpose of securing a

 warrant, I have not included every fact known to me or other law enforcement personnel

 concerning this investigation but have set forth only those facts necessary to establish probable

 cause.

                                      PROBABLE CAUSE

                                         Early April 2021

          4.    In or around April 2021, a confidential source (“CS1”) began communicating with

 Horvin McKenzie Jr. (“McKenzie”) regarding a load of cocaine that McKenzie expected to receive

 in South Florida. McKenzie advised CS1 that he could provide CS1 with multi-kilogram quantities

 of cocaine. On April 6, 2021, CS1 and a second confidential source (“CS2”) conducted a recorded

 meeting with McKenzie in Coral Springs, Florida, at the direction of law enforcement. During this

 meeting, McKenzie advised that he did not have the cocaine but propositioned CS2 regarding a

 scheme to transport approximately one hundred eighty (180) kilograms of cocaine from the

 Dominican Republic to South Florida.

                                                 2
Case 0:21-mj-06264-AOV Document 1 Entered on FLSD Docket 04/24/2021 Page 4 of 7




        5.      On or about April 18, 2021, McKenzie contacted CS2 via phone and advised that

 he could provide CS2 with three (3) kilograms of cocaine at thirty two thousand dollars

 ($32,000.00) per kilogram, or ninety six thousand dollars ($96,000.00) total. McKenzie and CS2

 agreed to conduct the transaction later that week.

                                           April 22, 2021

        6.      On this date, McKenzie and CS2 communicated telephonically. During this

 conversation, they agreed to meet the next day to facilitate the drug transaction.

                                           April 23, 2021

        7.      In the early morning, McKenzie and CS2 communicated telephonically. During this

 communication, they agreed to meet at the Bass Pro Shops, located in Dania Beach, Florida, later

 that afternoon to conduct the transaction. McKenzie advised that his associate would bring the

 cocaine to the meeting. McKenzie stated that, because his associate did not have more than two

 (2) kilograms of cocaine at the time, McKenzie could only sell that amount to CS2. CS2 accepted

 the arrangement and agreed to bring sixty four thousand dollars ($64,000.00) to facilitate the two-

 kilogram transaction.

        8.      At approximately 10:30 am, a DEA Task Force Officer (“TFO”) established

 surveillance on McKenzie’s residence in Coral Springs, Florida. While conducting surveillance,

 the TFO observed McKenzie meeting with the driver of a gold Toyota Corolla, later identified as

 David Jonathan Ventura. At approximately 11:15 am, the TFO observed McKenzie enter the driver

 seat of a white Nissan Sentra. He and Ventura then left the area in their respective vehicles in

 tandem. The TFO could not effectively maintain surveillance of the vehicles without

 compromising his presence, thereby resulting in the termination of the surveillance.




                                                  3
Case 0:21-mj-06264-AOV Document 1 Entered on FLSD Docket 04/24/2021 Page 5 of 7




        9.      At approximately 12:00 pm, while conducting surveillance, a different DEA TFO

 observed the white Nissan and gold Toyota parked next to each other in the parking lot of the Bass

 Pro Shops, located in Dania Beach, Florida. Both vehicles were present at the Bass Pro Shops at

 the time of the TFO’s arrival in the area.

        10.     Around noon, DEA Special Agents, DEA TFOs, and other law enforcement

 officers briefed regarding the federal drug operation. The objective was to arrest McKenzie and

 any associates while they were in possession of multiple kilograms of cocaine. At this time, CS2

 met with law enforcement where officers equipped CS2 with a covert audio recording device.

        11.     A short time later, CS2 arrived at the Bass Pro Shops and parked his/her vehicle.

 CS2 then directed McKenzie to his/her location in the lot. McKenzie drove the white Nissan to

 CS2’s location and met with CS2. During this meeting, CS2 requested to see the cocaine and

 McKenzie then made a phone call. Law enforcement then observed the gold Toyota drive towards

 CS2 and McKenzie before parking next to the white Nissan. At this time, CS2 met with McKenzie

 at the rear of the gold Toyota. McKenzie then directed CS2’s attention to a bag containing

 approximately two (2) kilograms of cocaine located in the backseat of the gold Toyota. Ventura

 remained in the driver’s seat of the gold Toyota during the meeting. CS2 advised McKenzie that

 he would return shortly with the money. McKenzie then entered the Nissan to wait for CS2. CS2

 reentered his/her vehicle and drove away from the area. At this time, CS2 advised law enforcement

 that he had seen the cocaine.

        12.     Upon receiving notification from CS2, law enforcement moved in to effectuate the

 arrest. The federal and state law enforcement officers who converged on McKenzie and Ventura

 wore protective vests clearly identifying themselves as law enforcement officers and activated the

 emergency lights on their vehicles. As law enforcement approached the gold Toyota, Ventura



                                                 4
Case 0:21-mj-06264-AOV Document 1 Entered on FLSD Docket 04/24/2021 Page 6 of 7




 produced a firearm and began firing the weapon from inside the vehicle at the approaching law

 enforcement officers. One of the rounds that Ventura fired struck a detective in the arm while

 another struck the detective’s bullet-proof vest. Law enforcement returned fire, striking Ventura.

 Law enforcement then took both Ventura and McKenzie into custody.

        13.     Law enforcement obtained and executed state search warrants for McKenzie’s

 Nissan and Ventura’s Toyota. A search of the Toyota revealed a bag containing approximately

 two (2) kilograms of a substance that field-tested positive for the presence of cocaine in the trunk

 of the vehicle. Law enforcement also seized a Beretta, 9mm handgun from the interior of the

 vehicle. This was the only firearm in the Toyota and thus, it is believed to be the firearm that

 Ventura fired at law enforcement. A search of McKenzie’s Nissan revealed a loaded Glock, .40

 caliber handgun.

        14.     Law enforcement advised McKenzie of his Miranda rights, which he waived.

 During a post-Miranda interview, McKenzie admitted to brokering the transaction between CS2

 and Ventura. McKenzie stated that he was going to profit one thousand dollars ($1,000.00) from

 the transaction. He admitted to bringing the Glock found within his vehicle to the deal, adding that

 he had a permit for the firearm.




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                                                  5
Case 0:21-mj-06264-AOV Document 1 Entered on FLSD Docket 04/24/2021 Page 7 of 7




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